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                                                                      OFFICIAL LOCAL FORM 3


                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                                            CHAPTER 13 PLAN COVER SHEET

 Filing Date:               July 22, 2015                                         Docket #:
 Debtor:                    Magalie Dowd                                          Co-Debtor:
 SS#:                       xxx-xx-1232                                           SS#:
                            89 Lafayette Street
 Address:                   Randolph, MA 02368                                    Address:

 Debtor's Counsel: David Crossley
                            448 Concord Street
 Address:                   Framingham, MA 01702
 Telephone #:               (508) 655-6085
 Facsimile #:               (508) 310-9022


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS
PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET FORTH
IN THE BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED CREDITORS'
MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE FOR FILING
PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THIRTY (30) DAYS
AFTER THE § 341 MEETING OR THIRTY (30) DAYS AFTER THE SERVICE OF AN AMENDED OR MODIFIED PLAN
TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE
SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




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                                                                     OFFICIAL LOCAL FORM 3

                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                                    PRE-CONFIRMATION CHAPTER 13 PLAN

                                                                          CHAPTER 13 PLAN


       Docket No.:

 DEBTOR(S):                (H)      Magalie Dowd                                                            SS#   xxx-xx-1232

                           (W)                                                                              SS#



I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $                  1,689.00   for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:

       Debtor states that cause exists in that the debtor(s) has incurred financial hardship and is devoting the entire                         ;or
       disposable income under the Chapter 13 Plan.

                 Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                             Description of Claim (pre-petition arrears,                           Amount of Claim
                                                      purchase money, etc.)
 Onewest Bank                                         Pre-petition arrears                                  $                      87,625.30

         Total of secured claims to be paid through the Plan $                                       87,625.30
B. Claims to be paid directly by debtor to creditors (Not through Plan):
Creditor                                                                                  Description of Claim
 Onewest Bank                                                            Mortgage

C. Modification of Secured Claims:

 Creditor                                                    Details of Modification                                 Amt. of Claim to Be Paid
                                                             (Additional Details                                                Through Plan
                                                             May Be Attached)
 -NONE-




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D. Leases:

            i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                      -NONE-
                  ; or

            ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                      -NONE-
                  .

            iii. The arrears under the lease to be paid under the plan are              0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

B. Other:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

 Total of Priority Claims to Be Paid Through the Plan $                     0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                        $   2,000.00

B. Miscellaneous fees:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.


V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                   14.3049   % of their claims.

A. General unsecured claims:                                                                                     $   11,029.08

B. Undersecured claims arising after lien avoidance/cramdown:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                      $

C. Non-Dischargeable Unsecured Claims:

 Creditor                                             Description of claim                                           Amount of Claim
                                                      Student Loan

                                                      ACCT NOTED AS BOTH PAID AND IN
 Acs/Mass Edu Fin Auth                                COLLECTION.                                            $                   0.00

 Total of Unsecured Claims (A + B + C):                                                                      $              11,029.08


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D. Multiply total by percentage: $       1,577.70
    (Example: Total of $38,500.00 x .22 dividend = $8,470.00)

E. Separately classified unsecured claims (co-borrower, etc.):

             Creditor                                          Description of claim                                         Amount of claim
             -NONE-                                                                                       $

             Total amount of separately classified claims payable at                   %                      $                         0.00


VI. OTHER PROVISIONS


            A. Liquidation of assets to be used to fund plan:


            B. Miscellaneous provisions:



VII. CALCULATION OF PLAN PAYMENT

 A) Secured claims (Section I-A Total):                                                    $                              87,625.30
 B) Priority claims (Section II-A&B Total):                                                $                                   0.00
 C) Administrative claims (Section III-A&B Total):                                         $                               2,000.00
 D) Regular unsecured claims (Section IV-D Total):+                                        $                               1,577.70
 E) Separately classified unsecured claims:                                                $                                   0.00
 F) Total of a + b + c + d + e above:                                                    =$                               91,203.00
 G) Divide (f) by .90 for total including Trustee's fee:
                                                       Cost of Plan=                       $                             101,336.40

                    (This represents the total amount to be paid into the Chapter 13 plan)
 H. Divide (G), Cost of Plan, by Term of Plan,                                           60 months
 I. Round up to nearest dollar for Monthly Plan Payment:                                   $                               1,689.00
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation
adequate protection payments directly to the secured creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                              Fair Market Value       Total Amount of Recorded Liens
                                                                                                                                (Schedule D)
 89 Lafayette Street, Randolph, MA                                       $                  298,168.00    $                      289,595.00

 Total Net Equity for Real Property:                       $                   8,573.00
 Less Exemptions (Schedule C):                             $                   8,573.00
 Available Chapter 7:                                      $                       0.00




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B. Automobile (Describe year, make and model):

 2009 Volkswagen Jetta                                    Value $                    5,103.00 Lien $        0.00 Exemption $          5,103.00

 Total Net Equity:                                         $ 5,103.00
 Less Exemptions (Schedule C):                             $ 5,103.00
 Available Chapter 7:                                      $ 0.00

C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Cash on hand
 Checking Account Deposits - Bank of America
 Household Furniture - bed sets (2); dining room set (1); living room set (1); bureaus (2); nightstands (2); refrigerator(1); desk
 (1); chairs (4); bookcase (1); washer (1); dryer (1); dishwasher (1); heating unit (1); microwave (1); assorted cookware and
 utensils.
 Household Electronics - TV(1); computer (1); cellphone (1); DVD Player (1).
 Books - small personal library
 Clothing
 Jewelry - misc. costume jewelry
 Term Life Insurance - children are beneficiaries - no cash value

 Total Net Value:                                          $ 5,680.00
 Less Exemptions (Schedule C):                             $ 5,680.00
 Available Chapter 7:                                      $ 0.00

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                       0.00

E. Additional Comments regarding Liquidation Analysis:



IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan upon the Chapter 13 Trustee,
all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ David Crossley                                                                         July 22, 2015
 David Crossley                                                                                 Date
 Debtor's Attorney
 Attorney's Address: 448 Concord Street
                              Framingham, MA 01702
                              Tel. #:        (508) 655-6085 Fax:(508) 310-9022
                              Email Address: crossleylaw@yahoo.com

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT
ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date July 22, 2015                                                      Signature     /s/ Magalie Dowd
                                                                                       Magalie Dowd
                                                                                       Debtor




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